


THIS OPINION HAS NO PRECEDENTIAL VALUE



THIS OPINION
  HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				South Carolina
      Department of Social Services, Respondent,
				&nbsp; v.
				Laquitta S. and
      Anthony S., Defendants, 
				of whom is
          Laquitta S. is Appellant.
				In the Interest
  of: L. R. S. (DOB: 03/03/04); a minor child under the age of 18.
			
		
	


Appeal From Horry County
&nbsp;Wylie H. Caldwell, Jr., Family Court
  Judge
Unpublished Opinion No.&nbsp; 2007-UP-537
Submitted November 1, 2007  Filed
  November 29, 2007
AFFIRMED


	
		
			
				Ronald R. Norton, of Conway, for Appellant.
				Robert Paul Taylor, of Conway, for Respondent.
				Paige F. Bellamy, of Myrtle Beach, for Childs Guardian ad Litem.
			
		
	

PER CURIAM: The
  South Carolina Department of Social Services (DSS) brought this termination of
  parental rights (TPR) action against Laquitta S. (Mother) and Anthony S.
  (Father).&nbsp; The family court terminated Mothers and Fathers parental rights to
  L. R. S. (Child).[1] &nbsp;Mother appeals the family courts termination of her parental rights.&nbsp; We
  affirm.[2] &nbsp;&nbsp;
FACTS
Mother gave birth to Child on March 30, 2004.&nbsp; Three days later,
  DSS took Child into emergency protective custody directly from the hospital
  because of its concern Mother would be unable to care for Child at home.&nbsp; DSS
  case manager, Felicia Bellamy, testified at the TPR hearing that Mother, who is
  HIV positive and has an IQ of 60, did not understand that her plans to
  breastfeed could potentially endanger Childs health.&nbsp;&nbsp;  
DSS prepared a treatment plan requiring
  Mother and Father to undergo psychological evaluations, attend parenting
  classes, and maintain appropriate housing. &nbsp;On
  September 23, 2004, the court ordered DSS to make arrangements to transport
  Child from the foster home to Mothers home for daily supervised visits, Monday
  through Friday; the visits were to last at least two hours per day. &nbsp;DSS
  contracted with the Youth Advocacy Program to transport Child and supervise the
  daily visits.  
For approximately three months, Kathleen Chapman of the Youth
  Advocacy Program transported Child from foster care to Mothers home for daily
  visits.&nbsp; During these visits, Chapman supervised the interaction between Mother
  and Child and assisted Mother with the care of Child.&nbsp; Chapman testified that
  each visit to Mothers home lasted approximately six hours.&nbsp;  
Following a Merits Hearing on December 9-10, 2004, the court
  relieved DSS of transporting Child to Mothers home for daily visits; instead,
  the court ordered DSS to exercise its own discretion over future visits.&nbsp; After
  the termination of court-ordered visits, Mother visited Child only twice from
  January 2005 to July 2006.&nbsp; The first visit, on April 2, 2005, took place at a
  fast food restaurant and was supervised by Childs foster parent.&nbsp; Following
  this visit, the foster parent reported that she did not want to supervise
  future visits due to Mothers inappropriate comments in Childs presence.&nbsp;
  Mother did not visit Child again until December 9, 2005.&nbsp;  
&nbsp;Bellamy testified Mother contacted DSS in February 2006, to
  schedule a visit.&nbsp; Based on DSS notes regarding Mothers two visits in 2005,
  DSS staff was reluctant to schedule additional visits.&nbsp; However, in response to
  Mothers continuing attempts to schedule a visit, Bellamy visited Mothers home
  on April 7, 2006. &nbsp;During the visit, Mother said she was living with
  Kevin Harrell and told Ms. Bellamy she planned to sign over Child to Kevins
  mother for adoption once Child was returned to her.[3]&nbsp;  
Thereafter,
  DSS filed an action to terminate Mothers parental rights.&nbsp; The family court
  found termination of Mothers parental rights was in the best interest of Child
  and was supported by the following statutory grounds: Child lived outside
  Mothers home for six months, and Mother had provided no meaningful support or
  material contributions to Child during that period, pursuant to S.C. Code Ann.
  § 20-7-1572(4); Child lived outside Mothers home for six months, and Mother
  had willfully failed to visit Child after December 2005, pursuant to S.C. Code
  Ann. § 20-7-1572(3); Mother failed to remedy the conditions which caused
  removal of Child, pursuant to S.C. Code Ann. § 20-7-1572(2); and Child had been
  in foster care for fifteen of the most recent twenty-two months, pursuant to
  S.C. Code Ann. § 20-7-1572(8). &nbsp;This appeal followed.  
STANDARD OF REVIEW
The grounds for
  the TPR must be proven by clear and convincing evidence. S.C. Dept of Soc.
    Servs. v. Parker, 336 S.C. 248, 254, 519 S.E.2d 351, 354 (Ct. App. 1999).&nbsp;
  Upon review, the appellate court may make its own finding from the record as
  to whether clear and convincing evidence supports the termination [of parental
  rights].&nbsp; S.C. Dept of Soc. Servs. v. Headden, 354 S.C. 602, 609, 582
  S.E.2d 419, 423 (2003).&nbsp; Despite our broad scope of review, we are not required
  to disregard the findings of the family court because the family court, who
  saw and heard the witnesses, was in a better position to evaluate their credibility
  and assign comparative weight to their testimony. Id.
LAW/ANALYSIS
Although
  Child left the hospital in DSS care following birth and continuously remained
  in DSS care for twenty-seven months, Mother argues the family court erred in
  terminating her parental rights and brings four issues for our review: (1) DSS
  failed to show by clear and convincing evidence that Mother had failed to
  remedy the conditions that caused removal; (2) Mothers failure to visit Child
  was not willful because DSS prevented visits between Mother and Child following
  termination of DSS-coordinated visits in December 2004; (3) Mothers failure to
  support Child for six months was not willful; and (4) no testimony supported a
  finding of severe and repeated abuse or neglect that was unlikely to be
  remedied within twelve months.&nbsp; We find that clear and convincing evidence
  supports at least one ground for termination and that termination is in Childs
  best interest.  
In South Carolina, procedures for TPR are governed by statute.&nbsp; See S.C. Code Ann. §§
  20-7-1560 to 1582 (Supp. 2006).&nbsp;&nbsp; The purpose of the TPR statute is:

	to
  establish procedures for the reasonable and compassionate termination of
  parental rights where children are abused, neglected, or abandoned in order to
  protect the health and welfare of these children and make them eligible for
  adoption by persons who will provide a suitable home environment and the love
  and care necessary for a happy, healthful, and productive life.

S.C. Code Ann. § 20-7-1560
  (Supp. 2006).&nbsp; The TPR statute must be liberally construed in order to ensure
  prompt judicial procedures for freeing minor children from the custody and
  control of their parents by terminating the parent-child relationship.&nbsp; The
  interests of the child shall prevail if the childs interest and the parental
  rights conflict.&nbsp; S.C. Code Ann. § 20-7-1578 (Supp. 2006).&nbsp; The family court
  may order TPR upon a finding of one or more of the eleven statutory grounds and
  a finding that termination is in the best interest of the child.&nbsp; See S.C.
  Code Ann. § 20-7-1572 (Supp. 2006).&nbsp;&nbsp;  
In
  this case, the record demonstrates Child had been in foster care since birth,
  and was twenty-seven months old and still residing in foster care when the TPR
  hearing was conducted.&nbsp; A finding that Child had been in foster care for
  fifteen months is sufficient to support TPR where the court also finds TPR is
  in the best interest of Child.&nbsp; S.C. Dept of Soc. Servs. v. Sims, 359
  S.C. 601, 606, 598 S.E.2d 303, 306 (Ct. App. 2004).&nbsp; The fact that DSS proved
  by clear and convincing evidence that Child had been in foster care for the
  past twenty-seven months is not disputed by Mother.
Because
  we affirm the family courts finding that Child has resided in foster care for
  fifteen of the past twenty-two months satisfies the statutory ground for TPR,
  we decline to address additional statutory grounds for termination of Mothers
  parental rights. &nbsp;Accordingly, the family court did not err in terminating
  Mothers parental rights based on its finding that a statutory ground was
  satisfied.&nbsp; See S.C. Code Ann. § 20-7-1572(8).
Mother also does not challenge the family courts
  finding that termination of her parental rights is in the best interest of
  Child.&nbsp; We address this issue nonetheless due to the courts role in protecting
  minors.&nbsp; See, e.g., Arscott v. Bacon, 351 S.C. 44, 55, 567
  S.E.2d 898, 904 (Ct. App. 2002) ([D]ue to the role of courts in protecting
  minors, this court may raise ex mero motu issues not raised by
  the parties.).&nbsp; In a TPR case, the best interest of the child is the paramount
  consideration.&nbsp; Doe v. Baby Boy Roe, 353 S.C. 576, 579, 578 S.E.2d 733,
  735 (Ct. App. 2003).&nbsp; The interests of the child shall prevail if the childs
  interest and the parental rights conflict.&nbsp; S.C. Code Ann. § 20-7-1578 (Supp.
  2006).
Mothers
  guardian ad litem, Glenn Ohanesian, testified: [t]his woman would do anything
  within her power to care for this child, and she has to the best of her ability
  complied with anything shes been asked to do . . . .&nbsp; I think that based on
  what weve heard, the testimony is already in the record that with constant
  supervision and . . . the right facility that she could stay with this child .
  . . .&nbsp;  
Bellamy
  testified that DSS coordinated supervised visits in Mothers home for three
  months.&nbsp; The visits lasted approximately six hours a day and were designed to
  help Mother learn to care for her child.&nbsp; DSS also explored the possibility of
  placing Mother and Child in a group home or therapeutic foster home that would
  provide services to both of them.&nbsp; However, Bellamy testified that these homes
  indicated they could not take a mentally limited mother and her baby.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
 
DSS
  referred Mother to parenting classes coordinated by Family Outreach.&nbsp; Sherry
  Coutain, Director of Education and an LPN, testified Mother attended eight
  hours of infant care instruction in June 2004.&nbsp; Child did not attend the
  parenting classes; instead, Mother practiced infant care skills with a demo
  doll.&nbsp; Coutain testified that although she believed Mother wanted to be a good
  mother, I would not recommend that the child be left in her care without
  supervision . . . .&nbsp; When asked how much supervision Mother would need to
  adequately care for her child, Coutain responded: I would say she would need .
  . . constant supervision.  
From
  September 27 to December 9, 2004, Kathleen Chapman of the Youth Advocacy
  Program transported Child from the foster home to Mothers home and supervised
  their daily visits.&nbsp; She testified that Mothers home was dirty and without
  soap, dish detergent, or toilet paper.&nbsp; In addition to supervising the
  interactions between Mother and Child, Chapman assisted Mother in making infant
  formula and helped her operate the nebulizer and suctioning syringe required to
  treat Childs asthma.&nbsp;  
Chapman
  testified that people would come and go from Mothers home throughout the
  supervised visits, sometimes taking food and baby formula.&nbsp; According to
  Chapman, [Mother] was taken advantage of greatly, greatly.&nbsp; Chapman also
  testified Mother did not understand the severity of her HIV condition and told
  her she let people have sex for money.  
Mother
  testified she no longer lived at the home where Child had visited with her in
  2004.&nbsp; Since then, she had lived with her aunt for a while and, for the past
  two days, had been living with her roommate, Cal.&nbsp; When the court asked Mother
  what she would do if she and Cal had a falling out, she responded: Ill go
  back to the mission to stay until I find me another place.&nbsp;  
Following
  the completion of testimony, the court noted: [t]wo years is a long time for a
  parent not to get in a position to, at the very minimum, have a decent home for
  her to go to . . . .&nbsp; [T]his child has been out of the parents home ever since
  she was removed in March of 2004, and they still dont have anywhere for her to
  live . . . .&nbsp; We agree and find that termination of Mothers parental rights
  is in Childs best interest.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CONCLUSION
Based on the
  foregoing, the family courts order is  
AFFIRMED.
HUFF
  and PIEPER, JJ., and GOOLSBY, A.J., concur.&nbsp; 

[1 Father and Mother were
  living at the same address at the time of Childs birth; however, Fathers
  paternity was not confirmed until he took a paternity test on September 15,
  2004. &nbsp;Father no longer lives with Mother
  and was served by publication.&nbsp; He did not attend the TPR hearing; however, his
  interests were represented by counsel, James Young, and guardian ad litem, John
  Thomas.&nbsp; Neither Mr. Young nor Mr. Thomas had been able to locate Father. &nbsp;The
  last documented contact between DSS and Father occurred in December 2004.
 
[2] We decide this case without oral argument
  pursuant to Rule 215, SCACR.
[3] There is no further mention of Kevin Harrells
  mother in the Record.  

